 1   Carolyn J. Johnsen (#011894)
     cjjohnsen@dickinsonwright.com
 2   DICKINSON WRIGHT PLLC
 3   1850 North Central Avenue, Suite 1400
     Phoenix, Arizona 85004
 4   Phone: (602) 285-5000
     Fax: (844) 670-6009
 5
     Attorneys for the Diller Parties
 6
                          IN THE UNITED STATES BANKRUPTCY COURT
 7
                                   FOR THE DISTRICT OF ARIZONA
 8
 9
      In re:                                  Chapter 11
10
      12 UNIVERSITY, LLC,                     Case No. 4:20-bk-11567-BMW
11
12                   Debtor.
                                              NOTICE OF STIPULATION TO ALLOW
13                                            PAYMENT OF FUNDS

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15
16             NOTICE IS HEREBY GIVEN that the attached Stipulated Motion to Allow Payment

17   of Funds has been filed in the Superior Court for Pima County. The Stipulation provides for

18   the payment of $350,000 to creditor Greg Goodman to reduce his lien against property of the
19   Debtor’s estate.
20             DATED: February 28, 2022
21
                                                      DICKINSON WRIGHT PLLC
22
                                                      By: /s/ Carolyn J. Johnsen
23                                                    Carolyn J. Johnsen
                                                      Attorneys for the Diller Parties
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 1   FOREGOING electronically filed with the
     Clerk of the U.S. Bankruptcy Court for the
 2   District of Arizona this 28th day of February,
 3   2022, with a COPY served this same date via
     e-mail or regular mail, as indicated in address,
 4   on the following parties:
 5
     Leonard McDonald
 6   Tiffany & Bosco, P.A.
     7th Floor Camelback Esplanade II
 7   2525 East Camelback Road
 8   Phoenix, AZ 85016
     ecf@tblaw.com
 9   Attorney for NewRez
10
     Jon Saffer
11   Rusing Lopez & Lizardi, P.L.L.C.
     6363 North Swan Road, Suite 151
12   Tucson, Arizona 85718
13   jsaffer@rllaz.com
     Attorney for Greg Goodman
14
     Allan Newdelman
15
     80 East Columbus Ave.
16   Phoenix, AZ 85012
     anewdelman@adnlaw.net
17   Attorney for Allan D. Newdelman, P.C.
18
     Edward K. Bernatavicius
19   Trial Attorney
     Office of the United States Trustee, Region 14
20
     230 N. First Ave, Suite 204
21   Phoenix, AZ 85003
     edward.k.bernatavicius@usdoj.gov
22
23   /s/ Janet Hawkins

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     4862-7331-4833 v1 [101083-1]
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Case 4:20-bk-11567-BMW   Doc 213 Filed 02/28/22 Entered 02/28/22 13:11:35   Desc
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Case 4:20-bk-11567-BMW   Doc 213 Filed 02/28/22 Entered 02/28/22 13:11:35   Desc
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Case 4:20-bk-11567-BMW   Doc 213 Filed 02/28/22 Entered 02/28/22 13:11:35   Desc
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     l           f.    The Payment shall be applied in partial satisfaction of Plaintiff's judgment
    2    against the Dillers and University. The remaining $97,693.03 shall be held by the Clerk
    3
         pending further order of the Court sought with notice to all parties.
    4
                g.      U.S. Bank is released from the Court's January 11, 2022 Order Granting
    5
         Application for a Temporary Restraining Order and Preliminary Injunction Without Notice.
    6

    7    9.      The Parties dispute the enforceability and breadth of the Charging Order and the

    8    Prelim Injunction and this Stipulation shall not constitute an admission with respect to eithet

    9    one. Notwithstanding the foregoing the Payment, once received and applied by Plaintiff is
    10   final and Dillers, 807, 821, and Snakebridge waive any right to later challenge or appeal its
    11
         finality.
    12
         10.     Except for those expressly modified by this Stipulation, the Paities reserve all further
    13
         rights with respect to all other matters, including the 2016 Case, the 2021 Case or the
    ]4

    15   Bankruptcy, or in and to the other Cashier's Checks.

    16   Dated this 28 th day of February, 2022

    17
         Isl Jonathan M Saffer (with permission)
    18
         Greg Goodma
    19   By his cou el· nathan M. Saffer, Esq.

    20
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    26
         P. : James Diller, its manager

                                                          4
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     2
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     5
               ridge, LLC
     6        ames Diller, its manager
     7

     8   Isl Michael Vincent (with permission)
         U.S. Bank, N.A.
     9   By its counsel: Michael Vincent
    10
    11   Isl Carolvn J Johnsen
         Defendants
    12   By their counsel: Carolyn J. Johnsen

    13
         Submitted by:
    14
         DICKINSON WRIGHT PLLC
    15
         By: Isl Carolyn J Johnsen
    16   Carolyn J. Johnsen
         1850 N. Central Ave., Suite 1400
    17   Phoenix, AZ 85004
         Allorneys for Defendants
    18
    19   ORIGINAL of the foregoing
         electronically filed via TurboCourt
    20   this 28 day of February. 2022
    21   COPY of the foregoing e-mailed this
         28th day of February, 2022 to:
    22
    23   Jon Safer, Esq.
         Rusing Lopez & Lizardi
    24   6363 N. Swan Road, Suite 151
         Tucson, AZ 85718
    25   jsafTer@rllaz.com
    26   Allorney for Plaintiff


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Case 4:20-bk-11567-BMW   Doc 213 Filed 02/28/22 Entered 02/28/22 13:11:35   Desc
                         Main Document    Page 8 of 12
   1   Carolyn J. Johnsen (#011894)
       cjjohnsen@dickinsonwright.com
   2   DICKINSON WRIGHT PLLC
       1850 North Central Avenue, Suite 1400
   3   Phoenix, AZ 85004
       Phone: (602) 285-5000
   4   Fax: (844) 670-6009
       Firm E-Mail: courtdocs@dickinsonwright.com
   5   Attorneys for Defendants
   6                       IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
   7                                       IN AND FOR THE COUNTY OF PIMA
   8   Greg Goodman,                                                      Case No. C2021-4762
   9                                                                      ORDER
                                     Plaintiff,
                                                                          (Assigned to the Hon. M. Butler)
  10              v.

  11   James Diller and Sheila Diller, husband and
       wife; 807 7th LLC, an Arizona limited liability
  12   company; 821 7th LLC, an Arizona limed
       liability company; and Snakebridge LLC, an
  13   Arizona limited liability company,
  14
                                     Defendants,
  15
       and
  16
       U.S. Bank, N.A.
  17
  18                                 Intervenor.

  19

  20              This matter comes before the Court pursuant to the Stipulation to Allow Payment of

  21   Funds (the “Stipulation”) between the above captioned Plaintiff and Defendants. Having

  22   found that all parties including U.S. Bank, N.A., as Intervenor have received notice and

  23   finding good cause exists to approve the Stipulation, 1

  24              IT IS ORDERED approving the Stipulation.

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           Capitalized terms not defined herein are those set forth in the Stipulation


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   1          IT IS FURTHER ORDERED that the Clerk of the Court shall release physical
   2   custody of Cashier’s Check No. 5139512352 in the amount of $447,693.03 issued by U.S.
   3   Bank to Defendant 821 7th LLC (the "Check") to Plaintiff’s counsel..
   4          IT IS FURTHER ORDERED that Plaintiff’s counsel shall coordinate with counsel
   5   for U.S. Bank to arrange an appointment for the delivery of the Check to the U.S. Bank
   6   Branch located at 7110 N Oracle Rd, Tucson, AZ 85704.
   7          IT IS FURTHER ORDERED that upon the Check being physically returned to U.S.
   8   Bank, U.S. Bank will void the Check, issue a replacement cashier's check in the same amount
   9   of $447,693.03 payable to the Clerk of the Superior Court (the “Clerk”), and deliver the
  10   replacement check to the Clerk.
  11          IT IS FURTHER ORDERED that the Clerk shall, upon receiving the replacement
  12   check, negotiate it and deposit the funds in the Clerk's bank account pursuant to Arizona
  13   Rule of Civil Procedure 67(c).
  14          IT IS FURTHER ORDERED that once the funds are deposited, the Clerk shall
  15   immediately issue a check made to Plaintiff’s counsel Rusing Lopez & Lizardi in the amount
  16   of $350,000 (the “Payment”) and delivered to Plaintiff’s counsel: Rusing Lopez & Lizardi
  17   PLLC, 6363 N. Swan Rd., Ste. 151, Tucson, AZ 85718. The Payment shall be in partial
  18   satisfaction of Plaintiff’s judgment against the Dillers and University.
  19          IT IS FURTHER ORDERED that the remaining $97,693.03 shall be held by the
  20   Clerk pending further order of the Court sought with notice to all parties.
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Case 4:20-bk-11567-BMW      Doc 213 Filed 02/28/222 Entered 02/28/22 13:11:35        Desc
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   1           IT IS FURTHER ORDERED that U.S. Bank is released from the Court's January
   2   11, 2022 Order Granting Application for a Temporary Restraining Order and Preliminary
   3   Injunction Without Notice.
   4           DATED this _____ day of ________________, 2022
   5
   6                                             __________________________________
   7                                             HON. MICHAEL J. BUTLER
   8
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       4887-6560-0785 v1 [101083-1]
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  From:           TurboCourt Customer Service
  To:             Lori S. Mandell; Janet M. Hawkins
  Subject:        EXTERNAL: AZTurboCourt E-Filing Courtesy Notification
  Date:           Monday, February 28, 2022 7:22:32 AM


  PLEASE DO NOT REPLY TO THIS EMAIL.

  A party in this case requested that you receive an AZTurboCourt Courtesy Notification.

  AZTurboCourt Form Set #6576632 has been DELIVERED to Pima County.

  You will be notified when these documents have been processed by the court.

  Here are the filing details:
  Case Number: C20214762 (Note: If this filing is for case initiation, you will receive a separate
  notification when the case # is assigned.)
  Case Title: GREG GOODMAN VS. JAMES DILLER ET AL.
  Filed By: Carolyn J Johnsen
  AZTurboCourt Form Set: #6576632
  Keyword/Matter #: CJJ/Diller/101083-1
  Delivery Date and Time: Feb 28, 2022 7:22 AM MST
  Forms:



  Attached Documents:
  Stipulation: Stipulated Motion to Allow Payment of Funds
  Proposed Order: Order




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